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Arlene Gordon-Oliver, Esq.

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:
                                                                             Chapter 11
Marlene Marshalleck                                                          Case No. 17-42418 (NHL)

                                              Debtor.

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              APPLICATION TO EMPLOY AND RETAIN ARLENE
      GORDON OLIVER & ASSOCIATES, PLLC. AS ATTORNEYS FOR DEBTOR
                 NUNC PRO TUNC AS OF THE FILING DATE

         The above-captioned Debtor and Debtor-in-Possession (the "Debtor") files this

application (the “Application”) seeking entry of an order authorizing the Debtor’s retention of

Arlene Gordon-Oliver & Associates, PLLC., (“AGOPLLC”) as her attorneys. In support of its

Application, the Debtor respectfully sets forth and alleges as follows:

                                                JURISDICTION

         1.       This Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue is proper

pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory basis for relief requested herein is §

327(a) of the Bankruptcy Code and Bankruptcy Rule 2014(a).




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                                        BACKGROUND

       2.      On April 19, 2017 (the “Filing Date”), the Debtor filed a voluntary petition for

reorganization pursuant to Chapter 11 of the Bankruptcy Code (the "Code").

       3.      Thereafter the instant proceeding was referred to Your Honor for administration

under the Code.

       4.      The Debtor has continued in possession of her property and the management of

her business affairs as a Debtor-in-Possession pursuant to §§1107 and 1108 of the Code.

       5.      An Official Committee of Unsecured Creditors has not been appointed in this

proceeding.

       6.      The Debtor is an individual currently employed as an account manager with a

large cable company. In addition to her residence at 231 Bainbridge Avenue, Brooklyn, New

York, the Debtor also owns and operates two improved parcels of real estate located in

Brooklyn, New York to wit, a four family building located at 419 Handcock Street, Brooklyn,

New York 11216 (the “419 Handcock Street Property”) and a 3 family property located at 416

Hancock Street, Brooklyn, New York, 11216 (the “419 Handcock Street Property”).

                                      RELIEF REQUESTED

       7.      The Debtor seeks to retain AGOPLLC as her attorneys to file and prosecute her

chapter 11 case and all related matters, effective as of the Petition Date. Accordingly, the Debtor

requests the entry of an order in substantially the form annexed hereto and pursuant to

Bankruptcy Code § 327(a) and Bankruptcy Rule 2014(a) authorizing the Debtor to employ and

retain AGOPLLC as her attorneys to perform services necessary in its chapter 11 case.

       8.      The professional services AGOPLLC will render to the Debtor includes the

following:




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              a.   To give advice to the Debtor with respect to its powers and duties as

                   Debtor-in-Possession and the continued management of her property and

                   affairs.

              b. To negotiate with creditors of the Debtor and work out a plan of

                   reorganization and take the necessary legal steps in order to effectuate such a

                   plan including, if need be, negotiations with the creditors and other parties in

                   interest.

              c. To prepare the necessary answers, orders, reports and other legal papers

                   required of a debtor who seeks protection from its creditors under Chapter 11

                   of the Code.

              d. To appear before the Bankruptcy Court to protect the interests of the Debtor

                   and to represent the Debtor in all matters pending before the Court.

              e. To attend meetings and negotiate with representatives of creditors and other

                   parties in interest.

              f. To advise the Debtor in connection with any potential refinancing of secured

                   debt.

              g. To represent the Debtor in connection with obtaining post-petition financing.

              h. To take any necessary action to obtain approval of a disclosure statement and

                   confirmation of a plan of reorganization.



       9.     The Debtor has selected AGOPLLC for the reason that Arlene Gordon-Oliver has

had extensive experience representing debtors in proceedings before the bankruptcy court and is




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well suited to represent the Debtor in the instant proceedings. Arlene Gordon-Oliver has been

actively involved in many chapter 11 cases and has represented many chapter 11 debtors.

       10.    AGOPLLC’s recent debtor representations include: In re Cislyn Crisp, Case No.

16-10974 (SMB) (Bankr S.D.N.Y. 2016); In re Sirrub Services, Inc. d/b/a Golden Krust, Case

No. 14-46370 (ESS) (Bankr E.DN.Y. 2014); In re: Bronx Shepherds Restoration Corp., Case

No.13-12295(CGM) (Bankr. S.D.N.Y. 2013); In re: L’Judie Matt-Simmons, Case No. 13-

23539(RDD) (Bankr. S.D.N.Y. 2013); In re Gene Branca, Case No. 13- 23915(Bankr. S.D.N.Y.

2013); In re 175 Valley Street, LLC, Case No. 12-23785 (RDD) (Bankr. S.D.N.Y. 2012); In re

Cliff Street Realty, LLC., Case No. 12-22965 (RDD) (Bankr. S.D.N.Y. 2012); In re 31-33 West

129th Street HDFC, Inc., Case No. 12-10504 (MG) (Bankr. S.D.N.Y. 2012); In re 51-53 West

129th Street HDFC, Inc., Case No. 12-10502 (MG) (Bankr. S.D.N.Y. 2012); In re Strait Gate

Church, Inc., Case No. 09-23954 (RDD) (Bankr. S.D.N.Y. 2009); In re Cathedral Baptist Church

Inc., Case No. 09-10584(RDD); In re 438 Fifth Avenue, LLC, Case No. 10-26638(RDD) (Bankr.

S.D.N.Y. 2010). In addition, prior to forming her own law practice Arlene Gordon-Oliver was

the lead bankruptcy attorney on various Chapter 11 cases, including the following: In re Karta

Corp et al., Case No.02-22208(RDD) (Bankr. S.D.N.Y. 2002); In re JCB, Inc. at al., Case No.

09-24104 (RDD) (Bankr. S.D.N.Y. 2009); In Hoti Realty et al., Case No.10-24129(RDD)

(Bankr. S.D.N.Y. 2010); In re Cavalry Construction, Inc., Case No. 07-22707 (ASH) (Bankr.

S.D.N.Y. 2007); In re Unique Rigging Corp., Case No. 07-43608 (DEM) (Bankr. E.D.N.Y.

2007); In re IBSC Agency, Inc., Case No. 06-11092 (BRL) (Bankr. S.D.N.Y. 2006).

       11.    It is necessary for the Debtor to employ AGOPLLC for such professional services

pursuant to § 327 of the Code.




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        12.     To the best of the Debtor’s knowledge, AGOPLLC has no connection with the

creditors or any other party in interest or their attorneys.

        13.     Subject to Court approval, compensation will be paid to AGOPLLC for services

provided on an hourly basis plus reimbursement of actual, necessary expenses incurred.

AGOPLLC 2015 hourly rates for matters related to this chapter 11 proceeding is as follows:

        Arlene Gordon-Oliver        $485.00
        Law Clerk/Paraprofessionals $150.00


        14.     The hourly rates above are subject to periodic adjustment to reflect economic and

other conditions. The hourly rates above are standard, if not below standard, rates for work of

this nature. These rates are designed to fairly compensate AGOPLLC for the work of its

attorneys and paralegals and to cover fixed routine overhead expenses.

        15.     To the best of the Debtor’s knowledge, as set forth in the Affidavit of Arlene

Gordon-Oliver, AGOPLLC does not hold or represent any interest adverse to the Debtor’s estate,

AGOPLLC is a “disinterested person” as defined in Bankruptcy Code § 101(14), AGOPLLC’s

employment is necessary and in the best interest of the Debtor and its estate.

        16.     AGOPLLC will be paid for the legal services rendered upon application duly filed

with this Court pursuant Sections 330 and 331 of the Code.

        17.     The Debtor desires to employ AGOPLLC pursuant to 11 U.S.C. §327 (a) because

of the extensive legal services, which are required and indeed are anticipated for a successful

reorganization under Chapter 11 of the Code.




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       WHEREFORE, the Debtor prays for an Order of this Court authorizing it to employ and

appoint Arlene Gordon-Oliver & Associates, PLLC. to represent her in this proceeding under

Chapter 11 of the Code, nunc pro tunc, as of the Petition, together with such other and further

relief as appears just to this Court, for all of which no previous application has been made.

Dated: White Plains, New York
       June 30, 2016

                                              Marlene Marshalleck


                                                By:/s/ Marlene Marshalleck
                                                   Marlene Marshalleck




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